                 Case 2:13-cr-00351-SJF-SIL                    Document 256           Filed 09/27/15          Page 1 of 6 PageID #:
    '.-\0 245B    , {Rev. 06/05) Judgment in a Criminal Case
                                                                       1234
,                   Sheet I



                                               UNITED STATES DISTRICT COURT
                             EASTERN                                  District of                     NEW YORK

              UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                    v.
                      SHANNA WAZ BAIG                                         Case Number:                      CR-13-351-005
                                                                              USMNumber:                        82556-083      FILED
                                                                              JOHN G. POLl, III ESQ.                     IN Cl.i':i' • ·, OI"F'ICE
                                                                              Defendant's Attorney
                                                                                                                 US 0131r{~~t~:~·-·~nrc0N¥
    THE DEFENDANT:
    X pleaded guilty to count(s)         COUNT TWO (2) OF THE INDICTMENT                                             *                               *
    D pleaded nolo contendere to count(s)                                                                                LONG !Sl AND OFFICE
      which was accepted by the court
    D was found guilty on count(s)
      after a plea of not guilty.

    The defendant is adjudicated guilty of these offenses:

    Title & Section                Nature of Offense                                     Offense Ended            Count
    8USCI324(aXiXAXvXI),                                                                 6/12/2013          TW0(2)
    8USCI324(a)(IXBXi)           . CONSPIRACY HARBOR ALIENS FOR FINANCIAL GAIN
           The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    D The. defendant has been found not guilty on count(s)

    X Count(s)       Three (3) through fifteen (15)              is   X are dismissed on the motion of the United States.


             It is ordered tbat the defendant must notifY the United States attorney fo   is district within 30 days of any change of name, residence,
    or mailing address until all fmes, restitution, costs, and special assessments impo  J;>y this judgme!'t are fully paid. If ordered to pay restitution,
    the defenoant must notifY the court and United States attorney of material eli      s m economiC crrcumstances.




                                                                                s/ Sandra J. Feuerstein
                                                                              Si   ature of Judge
                                                                                                                 j
                                                                              SANDRA J. FEUERSTEIN, U.S.D.J.
                                                                              Name and Title of Judge


                                                                               SEPTEMBER 27,2015
                                                                               Date




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           ~
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A0.24SB    ~!Rev. 06/05) Judgment in Criminal Case           1235
           Sheet 2 - Imprisonment

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DEFENDANT:                    SHANNAW AZ BAIG
CASE NUMBER:                  CR-13-351-005


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


TIME SERVED



      D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
               a - - - - - - - - D a.m.                    D p.m.        on

          D as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D   as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                              RETURN
I have executed this judgment as follows:




          Defendant delivered                                                       to - - - - - - - - - - - - - - - -

at - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By -----=~~~~~~~~~---­
                                                                                DEPUTY UNITED STATES MARSHAL
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A0-2458        (Rev. 06/0S) Judgment in a Criminal Case
                                                                  1236
               Sheet 3    Supervised Release

                                                                                                            Judgment Page             of
 DEFENDANT:                     SHANNA WAZ BAIG
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                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

THREE (3) YEARS


    · The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pmons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully pf!ssess a controlled S!lb~tance. The defendant shall refrain from any unlawful use of a controlled
substance. The defe~dant shall submtt to one drug test wtthm 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determmed by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
0        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofPayments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the atrached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support1tis or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any Qersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
II)       the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
13)       as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AC) 245B   i   (Rev. 06/05) Judgment in a Criminal Case
               Sheet 3A -Supervised Release
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DEFENDANT:                    SHANNA WAZ BAIG
CASE NUMBER:                  CR-13-35!-005

                                        ADDITIONAL SUPERVISED RELEASE TERMS

I. The defendant shall comply with restitution order ..
2. The defendant shall make full financial disclosure to the Probation Department.
AdJ45B
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           &beet 5 -Criminal Monetary Penalties               1238
                                                                                                 Judgment- Page ,_s_ _ of _ _6,__ _
DEFENDANT:                        SHANNAW AZ BAIG
CASE NUMBER:                      CR-13-351-005
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                     Fine                            Restitution
TOTALS            s         100.00                               $          0                      $ 1253343.48


D   The determination of restitution is deferred _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
    after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
    specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
    3664(i), all nonfederai victims must be paid before the United States is paid.

Name of Payee                                Total Loss*                    Restitution Ordered            Priority or Percentage
Restitution shall be
distributed to the victims
as set forth in the sealed
Appendix A associated
With this order. The Court
orders that the US
Department of Labor/Wage
& Hour Division receive
and distribute all restitution
funds consistent with this
judgment and its
attachments. At the end of
a period of 3 years from
the entry of this judgment,
if all of the victims have
not been identified and
located by the US                      1253343.48                       1253343.48
Department of Labor/Wage
& Hour Division, the
remaining restitution funds
may be deposited with the
Department of Treasury.
All restitution checks shall
be made payable to "Wage
Hour-Labor" and mailed
to: U.S. Department of
Labor/Wage & Hour
Division, 1400 Old
Country Rd., Suite 410.
Westbury NY 11590-5119,
Attn: Diane Callan,
Assistant Director




TOTALS                               $_ _ _ _1~2~53~3~43~.4~8~         $----~'2=5~3~34~3~.4~8~
A0.145B   Case    2:13-cr-00351-SJF-SIL
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            Sheet 6 - Schedule of Payments                      1239
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DEFENDANT:                  SHANNAW AZ BAIG
CASE NUMBER:                CR-13-351-005


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A    X     Lump sum payment of$ _.:.;I0::..:0:..;.0::..:0:...__ __ due inunediately, balance due

           D     not later than                                    , or
           x     in accordance          0    C,   0    D,     D      E, or     x Fbelow; or

B    D     Payment to begin inunediately (may be combined with               D C,       D D, or    D F below); or
C    D     Payment in equal                (e.g., weekly, monthly, quarterly) installments of $                       over a period of
          - - - - - (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    D     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
          ----=-- (e.g., months or years), to commence                          (e.g., 30 or 60 days) after release from imprisomnent to a
           tenn of supervision; or

E    D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
           imprisomnent. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    x     Special instructions regarding the payment of criminal monetary penalties:
                 $1,253,343.48 Restitution imposed due inunediately, and payable at the rate of 10% of monthly gross income while on
               supervision. Restitution shall be distributed to tbe victims as set forth in tbe sealed Appendix A associated
             witb this order. The Court orders tbat tbe US Department of Labor/Wage & Hour Division receive and
           distribute all restitution fimds consistent witb this judgment and its attachments. At tbe end of a period of 3
            years from tbe entry of this judgment, if all of tbe victims have not been identified and located by tbe US
             Department of Labor/Wage & Hour Division, tbe remaining restitution fimds may be deposited witb tbe
           Department of Treasury. All restitution checks shall be made payable to "Walile Hour-Labor" and mailed to:
           U.S. Department of Labor/Wage & Hour Division, 1400 Old Country Rd., Sutte 410. Westbury NY 11590-
                                             5119, Attn: Diane Callan, Assistant Director
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisomnent, payment of criminal mone!'U)' penalties is due during
imprisomnent. All criminal monetary penalties, except those payments made througn the Federal Bureau of Prtsons' lmnate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

x    The defendant shall forfeit the defendant's interest in the following property to the United States:
     See Preliminary Order of Forfeiture attached to this judgment.
